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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


 UNITED STATES OF AMERICA,                     CR 16-42-BLG-SPW

                          Plaintiff,
                                               PRELIMINARY ORDER OF
           vs.                                 FORFEITURE


 JOSHUA JAMES COOLEY,

                          Defendant.




      WHEREAS,in the superseding information in the above case, the United

States sought forfeiture of any property ofthe above-captioned person, pursuant to

21 U.S.C. § 853, as property used or intended to be used to facilitate the violation

alleged in the superseding information, or as proceeds of said violation;

      AND WHEREAS,on May 20, 2022,the defendant entered a plea of guilty

to the superseding information, which charged him with possession with intent to

distribute methamphetamine;

      AND WHEREAS,the superseding information contained a forfeiture

allegation that stated that as a result ofthe offenses charged in the superseding

information, the defendant shall forfeit the following property:
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